                                                 Case 08-72829-wlh               Doc 294 Filed FORM 1
                                                                                                 07/22/13  Entered 07/22/13                                    16:14:47              Desc Page No:
                                                                                                                                                                                                       1
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD
                                                                                              Page 1 of 36 AND REPORT
                                                                                            ASSET CASES

Case No.:                           08-72829-WLH                                                                                                              Trustee Name:                            Tamara Miles Ogier
Case Name:                          BUCKHEAD OIL COMPANY, INC.                                                                                                Date Filed (f) or Converted (c):         09/02/2008 (c)
For the Period Ending:              06/30/2013                                                                                                                §341(a) Meeting Date:                    08/21/2008
                                                                                                                                                              Claims Bar Date:                         03/09/2009
                                       1                                               2                               3                                4                        5                                          6

                            Asset Description                                     Petition/                   Estimated Net Value                  Property                 Sales/Funds               Asset Fully Administered (FA)/
                             (Scheduled and                                     Unscheduled                  (Value Determined by                Abandoned                  Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                                  Value                            Trustee,                 OA =§ 554(a) abandon.           the Estate
                                                                                                            Less Liens, Exemptions,
                                                                                                               and Other Costs)

 Ref. #
1       a/r                                                          (u)              Unknown                              $1,150,718.45                                       $1,270,667.16                                           FA
2         diesel fuel                                                                       $0.00                                 $0.00                                        $1,199,910.76                                           FA
3         Wachovia Bank Account                                      (u)                    $0.00                                 $0.00                                                   $4.13                                        FA
4         GUST Refund                                                (u)                    $0.00                                 $0.00                                               $5,814.10                                        FA
5         tanks                                                      (u)                    $0.00                                 $0.00                                               $8,340.00                                        FA
6         2007 Peterbilt 80959                                       (u)              Unknown                                     $0.00                                              $90,000.00                                        FA
7         2007 Peterbilt 80944                                       (u)              Unknown                                     $0.00                                          $110,000.00                                           FA
8         Adversary proceedings v. insiders                          (u)              Unknown                               $403,619.15                                              $17,000.00                                        FA
Asset Notes:        amount remains approximate as the complaint also prays for diminution of value of a fuel truck and also contains objections to insiders claims in this Estate.
INT       Interest Earned                                            (u)              Unknown                                  Unknown                                                $5,723.40                                 Unknown


TOTALS (Excluding unknown value)                                                                                                                                                                           Gross Value of Remaining Assets
                                                                                           $0.00                           $1,554,337.60                                       $2,707,459.55                                       $0.00



Major Activities affecting case closing:
    06/27/2013    Trustee has filed claims objections and will prepare closing package.


Initial Projected Date Of Final Report (TFR):             08/31/2010                               Current Projected Date Of Final Report (TFR):            09/30/2013                 /s/ TAMARA MILES OGIER
                                                                                                                                                                                        TAMARA MILES OGIER
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                              Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                Money Market Acct #:                 ******8020
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                Separate bond (if applicable):


     1                2                        3                                                         4                                      5                    6                  7

Transaction      Check /                     Paid to/                            Description of Transaction                Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                                   Tran Code            $                     $


10/06/2009                   Wire in from JPMorgan Chase Bank, N.A.      Wire in from JPMorgan Chase Bank, N.A. account    9999-000        $500,189.08                   $0.00          $500,189.08
                             account ********8066                        ********8066
10/28/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000                 $0.17                $0.00          $500,189.25
10/30/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $46.25                  $0.00          $500,235.50
11/30/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $73.92                  $0.00          $500,309.42
12/31/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.49                  $0.00          $500,385.91
01/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.51                  $0.00          $500,462.42
02/26/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $69.11                  $0.00          $500,531.53
03/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.52                  $0.00          $500,608.05
04/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $74.07                  $0.00          $500,682.12
05/28/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.54                  $0.00          $500,758.66
06/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $74.08                  $0.00          $500,832.74
07/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.57                  $0.00          $500,909.31
08/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $76.57                  $0.00          $500,985.88
09/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $20.58                  $0.00          $501,006.46
10/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $21.26                  $0.00          $501,027.72
11/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $20.58                  $0.00          $501,048.30
12/21/2010                   transfer to mma                                                                               9999-000                 $0.00           $95,000.00          $406,048.30
12/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000              $17.39                  $0.00          $406,065.69
01/31/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000              $10.34                  $0.00          $406,076.03
02/28/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000                 $9.34                $0.00          $406,085.37
03/10/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000                 $3.00                $0.00          $406,088.37
03/14/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000                 $1.32                $0.00          $406,089.69
03/31/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000                 $6.00                $0.00          $406,095.69
04/29/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                       1270-000              $10.00                  $0.00          $406,105.69


                                                                                                                          SUBTOTALS          $501,105.69             $95,000.00
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         08-72829-WLH                                                                                      Trustee Name:                           Tamara Miles Ogier
Case Name:                       BUCKHEAD OIL COMPANY, INC.                                                                        Bank Name:                             The Bank of New York Mellon
Primary Taxpayer ID #:           XX-XXXXXXX                                                                                        Money Market Acct #:                   ******8020
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                         Money Market Account
For Period Beginning:            06/30/2012                                                                                        Blanket bond (per case limit):         $1,000,000.00
For Period Ending:               06/30/2013                                                                                        Separate bond (if applicable):


     1                2                          3                                                       4                                                 5                    6                  7

Transaction      Check /                      Paid to/                        Description of Transaction                            Uniform           Deposit              Disbursement         Balance
   Date           Ref. #                   Received From                                                                           Tran Code            $                       $


05/31/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000               $10.33                   $0.00          $406,116.02
06/08/2011        10101      Hepaco, Inc                              environmental clean up                                        3991-000                   $0.00          $107,281.20          $298,834.82
06/30/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000                   $2.71                $0.00          $298,837.53
07/29/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000                   $2.53                $0.00          $298,840.06
08/09/2011                   From Account #**********8065                                                                           9999-000          $10,215.45                    $0.00          $309,055.51
08/11/2011           (INT)   The Bank of New York Mellon              Current Interest Rate is 0.0100%                              1270-000                   $0.81                $0.00          $309,056.32
08/11/2011                   To Account #**********8019                                                                             9999-000                   $0.00          $309,056.32                 $0.00

                                                                                        TOTALS:                                                        $511,337.52              $511,337.52               $0.00
                                                                                            Less: Bank transfers/CDs                                   $510,404.53              $404,056.32
                                                                                        Subtotal                                                           $932.99              $107,281.20
                                                                                            Less: Payments to debtors                                        $0.00                    $0.00
                                                                                        Net                                                                $932.99              $107,281.20




                      For the period of 06/30/2012 to 06/30/2013                                                  For the entire history of the account between 10/16/2009 to 6/30/2013

                      Total Compensable Receipts:                           $0.00                                 Total Compensable Receipts:                                     $932.99
                      Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                         $0.00                                 Total Comp/Non Comp Receipts:                                   $932.99
                      Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                           $510,404.53


                      Total Compensable Disbursements:                      $0.00                                 Total Compensable Disbursements:                            $107,281.20
                      Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                    $0.00                                 Total Comp/Non Comp Disbursements:                          $107,281.20
                      Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                      $404,056.32
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                          Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                            Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                            Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                            Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                            Separate bond (if applicable):


     1                2                           3                                                      4                                                  5                    6                  7

Transaction      Check /                    Paid to/                             Description of Transaction                            Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                 Received From                                                                                Tran Code            $                     $


10/06/2009                   Wire in from JPMorgan Chase Bank, N.A.      Wire in from JPMorgan Chase Bank, N.A. account                9999-000          $97,684.44                  $0.00           $97,684.44
                             account ********8065                        ********8065
10/09/2009            (1)    Williams & Williams                                                                                       1221-000           $4,112.50                  $0.00          $101,796.94
10/26/2009                   From Account #**********8066                                                                              9999-000            $437.95                   $0.00          $102,234.89
10/28/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.0750%                                   1270-000                 $4.47                $0.00          $102,239.36
11/24/2009            (1)    Williams & Williams                                                                                       1221-000           $2,275.00                  $0.00          $104,514.36
11/30/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $6.00                $0.00          $104,520.36
12/21/2009                   Williams & Williams                                                                                           *               $853.12                   $0.00          $105,373.48
                     {1}                                                                                                  $975.00      1221-000                                                    $105,373.48
                                                                                                                          ($121.88)    3210-600                                                    $105,373.48
12/31/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $6.22                $0.00          $105,379.70
01/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $6.26                $0.00          $105,385.96
02/02/2010            (1)    Willams & Williams                                                                                        1221-000           $1,061.02                  $0.00          $106,446.98
02/25/2010            (1)    Williams & Williams                                                                                       1221-000           $1,620.81                  $0.00          $108,067.79
02/26/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $5.71                $0.00          $108,073.50
03/23/2010            (1)    Williamd & Willaims                                                                                       1221-000           $6,462.50                  $0.00          $114,536.00
03/23/2010        11011      Williams & Williams                                                                                       3210-600                 $0.00           $22,397.00           $92,139.00
03/23/2010        11011      Williams & Williams                         Void Check #11011                                             3210-603                 $0.00          ($22,397.00)         $114,536.00
03/23/2010        11012      John C. Williams & Associates                                                                                 *                    $0.00           $22,397.00           $92,139.00
                                                                                                                           ($13.00)    3220-610                                                     $92,139.00
                                                                                                                     ($22,384.00)      3210-600                                                     $92,139.00
03/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $6.38                $0.00           $92,145.38
04/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                                   1270-000                 $5.30                $0.00           $92,150.68
05/26/2010            (1)    Williams & Williams                                                                                       1221-000           $2,673.31                  $0.00           $94,823.99
05/26/2010            (1)    Williams & Williams                                                                                       1221-000            $175.00                   $0.00           $94,998.99

                                                                                                                                      SUBTOTALS          $117,395.99             $22,397.00
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


     1                2                          3                                                        4                                         5                    6                  7

Transaction      Check /                      Paid to/                            Description of Transaction                   Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                   Received From                                                                      Tran Code            $                     $


05/28/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                           1270-000                 $5.50                $0.00           $95,004.49
06/09/2010        11013      Mansfield Oil Co. of Gainesville, Inc.                                                            6990-000                 $0.00            $3,186.98           $91,817.51
06/09/2010        11013      Mansfield Oil Co. of Gainesville, Inc.      Void Check #11013                                     6990-003                 $0.00           ($3,186.98)          $95,004.49
06/09/2010        11014      Triton Marketing, Inc                                                                             6990-000                 $0.00            $1,811.45           $93,193.04
06/09/2010        11014      Triton Marketing, Inc                       Void Check #11014                                     6990-003                 $0.00           ($1,811.45)          $95,004.49
06/09/2010        11015      Ports Petroleum Company, Inc.                                                                     6990-000                 $0.00            $4,688.45           $90,316.04
06/09/2010        11015      Ports Petroleum Company, Inc.               Void Check #11015                                     6990-003                 $0.00           ($4,688.45)          $95,004.49
06/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                           1270-000                 $5.46                $0.00           $95,009.95
07/01/2010            (1)    Williams & Williams                                                                               1221-000           $1,732.45                  $0.00           $96,742.40
07/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                           1270-000                 $5.73                $0.00           $96,748.13
08/09/2010            (1)    Williams & Williams                                                                               1221-000           $2,093.75                  $0.00           $98,841.88
08/31/2010            (1)    Williams & Williams                                                                               1221-000            $962.50                   $0.00           $99,804.38
08/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0700%                           1270-000                 $5.83                $0.00           $99,810.21
09/13/2010        11016      John C. Williams & Associates                                                                         *                    $0.00           $11,325.68           $88,484.53
                                                                                                               ($11,247.00)    3210-600                                                     $88,484.53
                                                                                                                   ($78.68)    3220-610                                                     $88,484.53
09/27/2010            (1)    Williams & Williams                                                                               1221-000          $17,248.83                  $0.00          $105,733.36
09/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                           1270-000                 $2.38                $0.00          $105,735.74
10/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                           1270-000                 $2.68                $0.00          $105,738.42
11/03/2010            (1)    Williams & Williams                         a/r collections                                       1221-000           $4,974.60                  $0.00          $110,713.02
11/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0300%                           1270-000                 $2.70                $0.00          $110,715.72
12/06/2010        11017      Stonebridge Accounting Strategies                                                                     *                    $0.00           $47,389.99           $63,325.73
                                                                                                               ($47,312.50)    3410-000                                                     $63,325.73
                                                                                                                   ($77.49)    3420-000                                                     $63,325.73
12/07/2010            (1)    Williams & Williams                         a/r                                                   1221-000           $5,158.89                  $0.00           $68,484.62

                                                                                                                              SUBTOTALS           $32,201.30             $58,715.67
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                   Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                     Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                     Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                     Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                     Separate bond (if applicable):


     1                2                          3                                                        4                                          5                    6                  7

Transaction      Check /                     Paid to/                             Description of Transaction                    Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                     $


12/21/2010                   transfer from TIA                                                                                  9999-000          $95,000.00                  $0.00          $163,484.62
12/21/2010        11018      Ellenberg Ogier Rothschild & Rosenfeld,                                                                *                    $0.00          $163,204.15                $280.47
                             P.C.
                                                                                                               ($118,744.00)    6110-000                                                           $280.47
                                                                                                                   ($945.79)    6120-000                                                           $280.47
                                                                                                                ($43,065.00)    3110-000                                                           $280.47
                                                                                                                   ($449.36)    3120-000                                                           $280.47
12/31/2010           (INT)   The Bank of New York Mellon                  Interest posting at 0.0100%                           1270-000                 $2.15                $0.00                $282.62
01/04/2011            (1)    Williams & Williams                                                                                1221-000           $4,985.90                  $0.00               $5,268.52
01/31/2011            (1)    Williams & Williams                          a/r                                                   1221-000           $4,981.65                  $0.00           $10,250.17
01/31/2011           (INT)   The Bank of New York Mellon                  Interest posting at 0.0100%                           1270-000                 $0.03                $0.00           $10,250.20
02/28/2011           (INT)   The Bank of New York Mellon                  Interest posting at 0.0100%                           1270-000                 $0.07                $0.00           $10,250.27
03/08/2011            (1)    Williams & Williams                                                                                1221-000           $4,593.46                  $0.00           $14,843.73
03/31/2011           (INT)   The Bank of New York Mellon                  Interest posting at 0.0100%                           1270-000                 $0.10                $0.00           $14,843.83
04/04/2011                   Williams & Williams                                                                                    *              $3,282.51                  $0.00           $18,126.34
                     {1}                                                                                          $3,751.44     1221-000                                                     $18,126.34
                                                                                                                   ($468.93)    3210-600                                                     $18,126.34
04/29/2011           (INT)   The Bank of New York Mellon                  Interest posting at 0.0100%                           1270-000                 $0.13                $0.00           $18,126.47
05/03/2011            (1)    Williams & Williams                                                                                1221-000           $1,093.75                  $0.00           $19,220.22
05/03/2011        11019      Williams & Williams                          order 4/11/11                                             *                    $0.00           $10,880.00               $8,340.22
                                                                                                                ($10,591.00)    3210-000                                                         $8,340.22
                                                                                                                   ($289.00)    3220-000                                                         $8,340.22
05/27/2011                   Williams & Williams                                                                                    *              $1,875.00                  $0.00           $10,215.22
                     {1}                                                                                          $2,000.00     1221-000                                                     $10,215.22
                                                                                                                   ($125.00)    3210-600                                                     $10,215.22
                                                                                                                               SUBTOTALS          $115,814.75            $174,084.15
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         08-72829-WLH                                                                                      Trustee Name:                           Tamara Miles Ogier
Case Name:                       BUCKHEAD OIL COMPANY, INC.                                                                        Bank Name:                             The Bank of New York Mellon
Primary Taxpayer ID #:           XX-XXXXXXX                                                                                        Money Market Acct #:                   ******8065
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                         Money Market Account
For Period Beginning:            06/30/2012                                                                                        Blanket bond (per case limit):         $1,000,000.00
For Period Ending:               06/30/2013                                                                                        Separate bond (if applicable):


     1                2                          3                                                       4                                                 5                    6                  7

Transaction      Check /                      Paid to/                        Description of Transaction                            Uniform           Deposit              Disbursement         Balance
   Date           Ref. #                   Received From                                                                           Tran Code            $                       $


05/31/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000                   $0.07                $0.00           $10,215.29
06/30/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000                   $0.07                $0.00           $10,215.36
07/29/2011           (INT)   The Bank of New York Mellon              Interest posting at 0.0100%                                   1270-000                   $0.07                $0.00           $10,215.43
08/09/2011           (INT)   The Bank of New York Mellon              Current Interest Rate is 0.0100%                              1270-000                   $0.02                $0.00           $10,215.45
08/09/2011                   To Account #**********8020                                                                             9999-000                   $0.00           $10,215.45                 $0.00

                                                                                        TOTALS:                                                        $265,412.27              $265,412.27               $0.00
                                                                                            Less: Bank transfers/CDs                                   $193,122.39               $10,215.45
                                                                                        Subtotal                                                        $72,289.88              $255,196.82
                                                                                            Less: Payments to debtors                                        $0.00                    $0.00
                                                                                        Net                                                             $72,289.88              $255,196.82




                      For the period of 06/30/2012 to 06/30/2013                                                  For the entire history of the account between 10/06/2009 to 6/30/2013

                      Total Compensable Receipts:                           $0.00                                 Total Compensable Receipts:                                  $73,005.69
                      Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                         $0.00                                 Total Comp/Non Comp Receipts:                                $73,005.69
                      Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                           $193,122.39


                      Total Compensable Disbursements:                      $0.00                                 Total Compensable Disbursements:                            $255,912.63
                      Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                    $0.00                                 Total Comp/Non Comp Disbursements:                          $255,912.63
                      Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                       $10,215.45
                                          Case 08-72829-wlh         Doc 294      Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                            Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                              The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Money Market Acct #:                    ******8067
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                          Money Market Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):          $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                     6                  7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit               Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                        $



                                                                                   TOTALS:                                                                 $0.00                  $0.00               $0.00
                                                                                       Less: Bank transfers/CDs                                            $0.00                  $0.00
                                                                                   Subtotal                                                                $0.00                  $0.00
                                                                                       Less: Payments to debtors                                           $0.00                  $0.00
                                                                                   Net                                                                     $0.00                  $0.00




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 10/06/2009 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                        $0.00
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                                      $0.00
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                                  $0.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                                   $0.00
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                                 $0.00
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                             $0.00
                                             Case 08-72829-wlh     Doc 294           Filed 07/22/13 Entered 07/22/13 16:14:47              Desc
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                     Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                       Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                       Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                       Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                       Separate bond (if applicable):


     1                2                            3                                                 4                                 5                    6                 7

Transaction      Check /                        Paid to/                     Description of Transaction            Uniform          Deposit            Disbursement         Balance
   Date           Ref. #                     Received From                                                        Tran Code           $                     $


07/21/2008            (1)    Bare Metals LLC                                                                      1121-000           $3,061.76                     $0.00          $3,061.76
07/21/2008            (1)    Woodman Insulation Co, Inc.                                                          1121-000          $29,657.31                     $0.00       $32,719.07
07/22/2008            (2)    Triton Marketing                                                                     1129-000          $49,716.55                     $0.00       $82,435.62
07/22/2008            (2)    Mansfield Oil                          wire                                          1129-000        $1,150,194.21                    $0.00    $1,232,629.83
07/24/2008                   To Account #********8066                                                             9999-000                 $0.00           $10,000.00       $1,222,629.83
07/25/2008            (1)    ADM Sanitation                                                                       1121-000          $11,642.82                     $0.00    $1,234,272.65
07/25/2008            (1)    Cherokee Brick                                                                       1121-000          $29,746.41                     $0.00    $1,264,019.06
07/25/2008            (1)    Double P Grading                                                                     1121-000           $5,235.67                     $0.00    $1,269,254.73
07/25/2008            (1)    Patriot Commercial Sanitation                                                        1121-000           $3,450.00                     $0.00    $1,272,704.73
07/25/2008            (1)    Perrone Enterprises                                                                  1121-000           $3,450.00                     $0.00    $1,276,154.73
07/31/2008           (INT)   JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                   1270-000              $49.14                     $0.00    $1,276,203.87
07/31/2008                   tax withholding (to be refunded)                                                     2990-000                 $0.00                  $13.75    $1,276,190.12
08/01/2008                   To Account #********8066                                                             9999-000                 $0.00                $500.00     $1,275,690.12
08/01/2008                   To Account #********8066                                                             9999-000                 $0.00            $2,000.00       $1,273,690.12
08/01/2008                   To Account #********8066                                                             9999-000                 $0.00                $300.00     $1,273,390.12
08/01/2008                   To Account #********8066                                                             9999-000                 $0.00            $2,000.00       $1,271,390.12
08/01/2008           1001    Nalley Motor Trucks                    vehicle repair                                6950-000                 $0.00                $968.35     $1,270,421.77
08/01/2008           1001    Nalley Motor Trucks                    vehicle repair                                6950-004                 $0.00                ($968.35)   $1,271,390.12
08/01/2008           1002    Nalley Motor Trucks                    vehicle repair                                6950-000                 $0.00                $968.35     $1,270,421.77
08/01/2008           1002    Nalley Motor Trucks                    vehicle repair                                6950-003                 $0.00                ($968.35)   $1,271,390.12
08/04/2008            (1)    ER Snell Contractor, Inc.                                                            1121-000           $5,484.08                     $0.00    $1,276,874.20
08/04/2008            (1)    Martin Concrete Construction                                                         1121-000           $2,399.79                     $0.00    $1,279,273.99
08/04/2008            (1)    North Georgia Concrete Inc                                                           1121-000           $1,346.30                     $0.00    $1,280,620.29
08/04/2008            (1)    Rover, Inc.                                                                          1121-000           $3,681.71                     $0.00    $1,284,302.00
08/04/2008            (1)    Woodman Insulation Co., Inc.                                                         1121-000           $9,136.59                     $0.00    $1,293,438.59


                                                                                                                 SUBTOTALS         $1,308,252.34            $14,813.75
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                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       08-72829-WLH                                                               Trustee Name:                         Tamara Miles Ogier
Case Name:                     BUCKHEAD OIL COMPANY, INC.                                                 Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         XX-XXXXXXX                                                                 Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                       Money Market Account
For Period Beginning:          06/30/2012                                                                 Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2013                                                                 Separate bond (if applicable):


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Transaction      Check /                      Paid to/                  Description of Transaction          Uniform          Deposit            Disbursement         Balance
   Date           Ref. #                   Received From                                                   Tran Code           $                     $


08/04/2008           (3)   Wachovia                                                                        1229-000                 $4.13                $0.00       $1,293,442.72
08/07/2008                 To Account #********8066                                                        9999-000                 $0.00           $30,000.00       $1,263,442.72
08/13/2008           (1)   Casteel Trucking, LLC                  a/r                                      1121-000           $4,184.50                  $0.00       $1,267,627.22
08/13/2008           (1)   Ellis Astin Grading Co., Inc.          a/r                                      1121-000        $102,816.82                   $0.00       $1,370,444.04
08/13/2008           (1)   Landirr, Inc.                          a/r                                      1121-000           $2,156.47                  $0.00       $1,372,600.51
08/13/2008           (1)   Nick Group, Inc.                       a/r                                      1121-000           $4,352.59                  $0.00       $1,376,953.10
08/13/2008           (1)   North GA Pipeline, Inc.                a/r                                      1121-000           $4,135.82                  $0.00       $1,381,088.92
08/13/2008           (1)   Wel Companies, Inc.                    a/r                                      1121-000           $3,826.42                  $0.00       $1,384,915.34
08/13/2008           (1)   Cherokee Brick & Tile Co                                                        1121-000          $93,048.70                  $0.00       $1,477,964.04
08/13/2008           (1)   Milton Mayeske & Sons                                                           1121-000           $3,786.26                  $0.00       $1,481,750.30
08/13/2008           (1)   North Georgia Concrete                                                          1121-000           $2,211.45                  $0.00       $1,483,961.75
08/19/2008           (1)   A Abby Lawn Care                                                                1121-000           $3,233.45                  $0.00       $1,487,195.20
08/19/2008           (1)   Cherokee Brick & Tile                                                           1121-000          $16,251.43                  $0.00       $1,503,446.63
08/19/2008           (1)   Morris Logging                                                                  1121-000            $500.00                   $0.00       $1,503,946.63
08/19/2008           (1)   North Georgia Pipeline                                                          1121-000           $3,646.12                  $0.00       $1,507,592.75
08/19/2008           (1)   Woodman Insulation Co                                                           1121-000          $10,106.80                  $0.00       $1,517,699.55
08/22/2008           (1)   Brent Scarboro                                                                  1121-000          $17,360.92                  $0.00       $1,535,060.47
08/22/2008           (1)   Brent Scarboro                                                                  1121-000          $89,853.87                  $0.00       $1,624,914.34
08/22/2008           (1)   Guthrie Construction                                                            1121-000           $2,259.38                  $0.00       $1,627,173.72
08/22/2008           (1)   RL Trucking, Inc.                                                               1121-000            $500.00                   $0.00       $1,627,673.72
08/28/2008           (1)   Crystal Lake                                                                    1121-000           $1,612.25                  $0.00       $1,629,285.97
08/28/2008           (1)   Highland Excavating                                                             1121-000            $347.03                   $0.00       $1,629,633.00
08/28/2008           (1)   Martin Concrete                                                                 1121-000           $1,900.97                  $0.00       $1,631,533.97
08/28/2008           (1)   Mike Ryan Trucking                                                              1121-000           $8,275.55                  $0.00       $1,639,809.52
08/28/2008           (1)   Sequoia Golf                                                                    1121-000           $3,048.84                  $0.00       $1,642,858.36


                                                                                                          SUBTOTALS          $379,419.77             $30,000.00
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                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                 Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                   Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                   Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                     Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                   Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                   Separate bond (if applicable):


     1                2                              3                                             4                               5                    6                 7

Transaction      Check /                       Paid to/                    Description of Transaction          Uniform          Deposit            Disbursement         Balance
   Date           Ref. #                    Received From                                                     Tran Code           $                     $


08/29/2008            (1)    Erosion Control Services                                                         1121-000           $1,424.13                   $0.00      $1,644,282.49
08/29/2008            (1)    Innovative Irrigation                                                            1121-000           $1,960.34                   $0.00      $1,646,242.83
08/29/2008            (1)    Peachstate Recycling                                                             1121-000            $500.00                    $0.00      $1,646,742.83
08/29/2008            (1)    Peachstate Recycling                                                             1221-000            $500.00                    $0.00      $1,647,242.83
08/29/2008            (1)    Triton Marketing                                                                 1121-000          $15,078.64                   $0.00      $1,662,321.47
08/29/2008           (INT)   JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                1270-000            $167.15                    $0.00      $1,662,488.62
09/04/2008            (4)    Mansfield                             GUST refund                                1224-000           $3,956.42                   $0.00      $1,666,445.04
09/04/2008            (4)    Ports Petroleum                                                                  1224-000           $1,857.68                   $0.00      $1,668,302.72
09/10/2008            (1)    Astra Grading                                                                    1121-000          $15,206.06                   $0.00      $1,683,508.78
09/15/2008                   Esate of Buckhead Oil                                                            9999-000        $143,114.52                    $0.00      $1,826,623.30
09/30/2008           (INT)   JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                1270-000            $226.78                    $0.00      $1,826,850.08
10/08/2008                   ACCOUNT FUNDED: ********8019                                                     9999-000                 $0.00          $617,000.00       $1,209,850.08
10/08/2008                   To Account #********8066                                                         9999-000                 $0.00        $1,036,000.00         $173,850.08
10/30/2008            (1)    Harvey's Hauling                                                                 1121-000            $142.58                    $0.00        $173,992.66
10/30/2008            (4)    Veternas Oli                                                                     1224-000              $71.87                   $0.00        $174,064.53
10/31/2008           (INT)   JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1200%                1270-000              $70.64                   $0.00        $174,135.17
11/14/2008            (4)    NSF - Veteran's Oil                                                              1224-000             ($71.87)                  $0.00        $174,063.30
11/28/2008           (INT)   JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1000%                1270-000              $13.68                   $0.00        $174,076.98
12/03/2008            (1)    Double P Grading                                                                 1121-000           $3,718.40                   $0.00        $177,795.38
12/03/2008            (1)    Martin Concrete                                                                  1121-000           $1,117.59                   $0.00        $178,912.97
12/03/2008            (1)    Williams & Williams                                                              1121-000          $30,120.47                   $0.00        $209,033.44
12/03/2008            (1)    RL Trucking                                                                      1121-000            $500.00                    $0.00        $209,533.44
12/03/2008            (1)    Williams & Williams                                                              1121-000        $190,503.15                    $0.00        $400,036.59
12/03/2008            (5)    Abby Lawn                                                                        1229-000           $2,000.00                   $0.00        $402,036.59
12/03/2008            (5)    Elrod Auction Co                                                                 1229-000            $300.00                    $0.00        $402,336.59


                                                                                                             SUBTOTALS          $412,478.23          $1,653,000.00
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                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                    Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                      Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                      Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                      Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                      Separate bond (if applicable):


     1                2                           3                                                          4                                        5                    6                 7

Transaction      Check /                        Paid to/                             Description of Transaction                  Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                     Received From                                                                      Tran Code            $                     $


12/09/2008            (1)    NSF - Martin Concrete                                                                               1121-000          ($1,117.59)                  $0.00        $401,219.00
12/10/2008            (1)    NSF - Double P Grading                                                                              1121-000          ($3,718.40)                  $0.00        $397,500.60
12/16/2008           1003    Mansfield Oil Company of Gainesville, Inc.                                                          6910-000                 $0.00           $37,193.81         $360,306.79
12/16/2008           1004    Triton Marketing, Inc.                                                                              6910-000                 $0.00           $21,140.55         $339,166.24
12/16/2008           1005    Ports Petroleum Co., Inc.                                                                           6910-000                 $0.00           $54,716.73         $284,449.51
12/31/2008            (1)    Lamberth Cifelli Stokes                                                                             1121-000          $40,840.91                   $0.00        $325,290.42
12/31/2008            (1)    Gibeon Law Group                                                                                    1121-000           $6,178.50                   $0.00        $331,468.92
12/31/2008            (1)    Williams & Williams                                                                                 1121-000           $9,667.43                   $0.00        $341,136.35
12/31/2008           (INT)   JPMORGAN CHASE BANK, N.A.                       Interest posting at 0.0500%                         1270-000              $20.61                   $0.00        $341,156.96
01/27/2009            (1)    Veteran's Oil                                                                                       1121-000              $81.87                   $0.00        $341,238.83
01/30/2009           (INT)   JPMORGAN CHASE BANK, N.A.                       Interest posting at 0.0500%                         1270-000              $13.53                   $0.00        $341,252.36
02/03/2009            (1)    Williams & Williams                                                                                 1221-000          $12,443.26                   $0.00        $353,695.62
02/04/2009            (1)    Williams & Williams                                                                                 1221-000        $108,284.07                    $0.00        $461,979.69
02/04/2009           1006    Mansfield Oil Company of Gainesville, Inc.                                                          6910-000                 $0.00           $21,449.94         $440,529.75
02/04/2009           1007    Triton Marketing Inc                                                                                6910-000                 $0.00           $12,191.91         $428,337.84
02/04/2009           1008    Ports Petroleum Co., Inc.                                                                           6910-000                 $0.00           $31,555.53         $396,782.31
02/26/2009                   Chuck Bishop                                                                                            *           $200,000.00                    $0.00        $596,782.31
                     {7}                                                                                          $110,000.00    1229-000                                                   $596,782.31
                     {6}                                                                                           $90,000.00    1229-000                                                   $596,782.31
02/26/2009            (5)    McAdams Forklift                                                                                    1229-000            $590.00                    $0.00        $597,372.31
02/26/2009            (5)    Middle Georgia Water Systems, Inc.                                                                  1229-000           $4,250.00                   $0.00        $601,622.31
02/26/2009            (5)    Southern Turf Grassing Co                                                                           1229-000           $1,200.00                   $0.00        $602,822.31
02/27/2009           (INT)   JPMORGAN CHASE BANK, N.A.                       Interest posting at 0.0500%                         1270-000              $16.02                   $0.00        $602,838.33
03/31/2009           (INT)   JPMORGAN CHASE BANK, N.A.                       Interest posting at 0.0500%                         1270-000              $25.67                   $0.00        $602,864.00
04/30/2009           (INT)   JPMORGAN CHASE BANK, N.A.                       Interest posting at 0.0500%                         1270-000              $24.59                   $0.00        $602,888.59

                                                                                                                                SUBTOTALS          $378,800.47            $178,248.47
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                   Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                     Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                     Money Market Acct #:                 ******8065
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                       Money Market Account
For Period Beginning:           06/30/2012                                                                                     Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                     Separate bond (if applicable):


     1                2                         3                                                          4                                         5                    6                 7

Transaction      Check /                     Paid to/                           Description of Transaction                      Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                     $


05/13/2009            (1)    Williams & Williams                                                                                1221-000           $3,924.60                   $0.00        $606,813.19
05/13/2009            (1)    Williams & Williams                                                                                1221-000           $7,616.10                   $0.00        $614,429.29
05/29/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.0500%                             1270-000              $24.01                   $0.00        $614,453.30
06/05/2009            (1)    Williams & Williams                                                                                1221-000           $3,937.50                   $0.00        $618,390.80
06/24/2009            (1)    Williams & Williams                                                                                1221-000          $12,731.25                   $0.00        $631,122.05
06/30/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.0500%                             1270-000              $26.88                   $0.00        $631,148.93
07/14/2009                   ACCOUNT FUNDED: ********8020                                                                       9999-000                 $0.00          $500,000.00         $131,148.93
07/30/2009            (1)    Williams & Williams                                                                                1221-000           $4,816.46                   $0.00        $135,965.39
07/31/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.0500%                             1270-000              $14.36                   $0.00        $135,979.75
08/31/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.0500%                             1270-000                 $5.70                 $0.00        $135,985.45
09/02/2009           1009    Elrod Auction Company                                                                                  *                    $0.00           $22,384.00         $113,601.45
                                                                                                                ($20,834.00)    3610-000                                                   $113,601.45
                                                                                                                 ($1,550.00)    3620-000                                                   $113,601.45
09/02/2009           1010    John C. Williams & Associates                                                                      3210-600                 $0.00            $7,252.00         $106,349.45
09/04/2009            (1)    Casteel Trucking                                                                                   1221-000            $400.00                    $0.00        $106,749.45
09/04/2009            (1)    Williams & Williams                                                                                1221-000          $22,137.50                   $0.00        $128,886.95
09/04/2009                   To Account #********8066                                                                           9999-000                 $0.00           $31,207.70          $97,679.25
09/30/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Interest posting at 0.0500%                             1270-000                 $4.53                 $0.00         $97,683.78
10/06/2009                   Wire out to BNYM account ********8065      Wire out to BNYM account ********8065                   9999-000         ($97,684.44)                  $0.00                ($0.66)
10/06/2009           (INT)   JPMORGAN CHASE BANK, N.A.                  Current Interest Rate is 0.0500%                        1270-000                 $0.66                 $0.00                $0.00




                                                                                                                               SUBTOTALS          ($42,044.89)           $560,843.70
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Money Market Acct #:                  ******8065
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        Money Market Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                   6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit             Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                      $



                                                                                   TOTALS:                                                       $2,436,905.92          $2,436,905.92               $0.00
                                                                                       Less: Bank transfers/CDs                                     $45,430.08          $2,229,007.70
                                                                                   Subtotal                                                      $2,391,475.84            $207,898.22
                                                                                       Less: Payments to debtors                                         $0.00                  $0.00
                                                                                   Net                                                           $2,391,475.84            $207,898.22




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 07/20/2008 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                              $2,391,475.84
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                            $2,391,475.84
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                           $45,430.08


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                           $207,898.22
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                         $207,898.22
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                   $2,229,007.70
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                            Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                              JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Money Market Acct #:                    ******8067
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                          Money Market Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):          $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                     6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit               Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                        $



                                                                                   TOTALS:                                                                 $0.00                  $0.00               $0.00
                                                                                       Less: Bank transfers/CDs                                            $0.00                  $0.00
                                                                                   Subtotal                                                                $0.00                  $0.00
                                                                                       Less: Payments to debtors                                           $0.00                  $0.00
                                                                                   Net                                                                     $0.00                  $0.00




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 03/09/2009 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                         $0.00
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                                       $0.00
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                              $0.00
                                           Case 08-72829-wlh          Doc 294        Filed 07/22/13 Entered 07/22/13 16:14:47                                   Desc
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         08-72829-WLH                                                                                       Trustee Name:                             Tamara Miles Ogier
Case Name:                       BUCKHEAD OIL COMPANY, INC.                                                                         Bank Name:                               JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:           XX-XXXXXXX                                                                                         Certificate of Deposits Acct #:          ******8019
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                           Time Deposit Account
For Period Beginning:            06/30/2012                                                                                         Blanket bond (per case limit):           $1,000,000.00
For Period Ending:               06/30/2013                                                                                         Separate bond (if applicable):


     1                2                          3                                                     4                                                    5                      6                 7

Transaction      Check /                      Paid to/                         Description of Transaction                            Uniform             Deposit              Disbursement         Balance
   Date           Ref. #                   Received From                                                                            Tran Code              $                       $


10/08/2008                   FUNDING ACCOUNT: ********8065                                                                           9999-000          $617,000.00                      $0.00        $617,000.00
04/06/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.6700%                                   1270-000             $2,041.99                     $0.00        $619,041.99
07/06/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000               $231.55                     $0.00        $619,273.54
08/05/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $76.35                     $0.00        $619,349.89
09/04/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $76.36                     $0.00        $619,426.25
10/05/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $78.92                     $0.00        $619,505.17
10/06/2009                   Transfer out to account ********8066      Transfer out to account ********8066                          9999-000          ($619,505.17)                    $0.00                $0.00

                                                                                         TOTALS:                                                                 $0.00                   $0.00               $0.00
                                                                                             Less: Bank transfers/CDs                                       ($2,505.17)                  $0.00
                                                                                         Subtotal                                                            $2,505.17                   $0.00
                                                                                             Less: Payments to debtors                                           $0.00                   $0.00
                                                                                         Net                                                                 $2,505.17                   $0.00




                      For the period of 06/30/2012 to 06/30/2013                                                   For the entire history of the account between 10/08/2008 to 6/30/2013

                      Total Compensable Receipts:                            $0.00                                 Total Compensable Receipts:                                     $2,505.17
                      Total Non-Compensable Receipts:                        $0.00                                 Total Non-Compensable Receipts:                                     $0.00
                      Total Comp/Non Comp Receipts:                          $0.00                                 Total Comp/Non Comp Receipts:                                   $2,505.17
                      Total Internal/Transfer Receipts:                      $0.00                                 Total Internal/Transfer Receipts:                              ($2,505.17)


                      Total Compensable Disbursements:                       $0.00                                 Total Compensable Disbursements:                                     $0.00
                      Total Non-Compensable Disbursements:                   $0.00                                 Total Non-Compensable Disbursements:                                 $0.00
                      Total Comp/Non Comp Disbursements:                     $0.00                                 Total Comp/Non Comp Disbursements:                                   $0.00
                      Total Internal/Transfer Disbursements:                 $0.00                                 Total Internal/Transfer Disbursements:                               $0.00
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         08-72829-WLH                                                                                       Trustee Name:                               Tamara Miles Ogier
Case Name:                       BUCKHEAD OIL COMPANY, INC.                                                                         Bank Name:                                 JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:           XX-XXXXXXX                                                                                         Certificate of Deposits Acct #:            ******8020
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                             Time Deposit Account
For Period Beginning:            06/30/2012                                                                                         Blanket bond (per case limit):             $1,000,000.00
For Period Ending:               06/30/2013                                                                                         Separate bond (if applicable):


     1                2                          3                                                     4                                                    5                        6                 7

Transaction      Check /                      Paid to/                         Description of Transaction                            Uniform             Deposit                Disbursement         Balance
   Date           Ref. #                   Received From                                                                            Tran Code              $                         $


07/14/2009                   FUNDING ACCOUNT: ********8065                                                                           9999-000          $500,000.00                        $0.00        $500,000.00
08/13/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $61.65                       $0.00        $500,061.65
09/14/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $65.76                       $0.00        $500,127.41
10/06/2009                   Transfer out to account ********8066      Transfer out to account ********8066                          9999-000          ($500,189.08)                      $0.00            ($61.67)
10/14/2009           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.1500%                                   1270-000                $61.67                       $0.00                $0.00

                                                                                         TOTALS:                                                                   $0.00                   $0.00               $0.00
                                                                                             Less: Bank transfers/CDs                                           ($189.08)                  $0.00
                                                                                         Subtotal                                                                $189.08                   $0.00
                                                                                             Less: Payments to debtors                                             $0.00                   $0.00
                                                                                         Net                                                                     $189.08                   $0.00




                      For the period of 06/30/2012 to 06/30/2013                                                   For the entire history of the account between 07/14/2009 to 6/30/2013

                      Total Compensable Receipts:                            $0.00                                 Total Compensable Receipts:                                         $189.08
                      Total Non-Compensable Receipts:                        $0.00                                 Total Non-Compensable Receipts:                                       $0.00
                      Total Comp/Non Comp Receipts:                          $0.00                                 Total Comp/Non Comp Receipts:                                       $189.08
                      Total Internal/Transfer Receipts:                      $0.00                                 Total Internal/Transfer Receipts:                                  ($189.08)


                      Total Compensable Disbursements:                       $0.00                                 Total Compensable Disbursements:                                       $0.00
                      Total Non-Compensable Disbursements:                   $0.00                                 Total Non-Compensable Disbursements:                                   $0.00
                      Total Comp/Non Comp Disbursements:                     $0.00                                 Total Comp/Non Comp Disbursements:                                     $0.00
                      Total Internal/Transfer Disbursements:                 $0.00                                 Total Internal/Transfer Disbursements:                                 $0.00
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                              Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                Checking Acct #:                     ******8019
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                       Checking Account
For Period Beginning:           06/30/2012                                                                                Blanket bond (per case limit):       $1,000,000.00
For Period Ending:              06/30/2013                                                                                Separate bond (if applicable):


     1                2                        3                                                         4                                       5                   6                  7

Transaction      Check /                    Paid to/                             Description of Transaction                Uniform            Deposit           Disbursement         Balance
   Date           Ref. #                 Received From                                                                    Tran Code             $                    $


10/06/2009                   Wire in from JPMorgan Chase Bank, N.A.      Wire in from JPMorgan Chase Bank, N.A. account    9999-000          $619,505.17                  $0.00         $619,505.17
                             account ********8066                        ********8066
10/28/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $13.79                   $0.00         $619,518.96
10/30/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $96.16                   $0.00         $619,615.12
11/30/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $91.04                   $0.00         $619,706.16
12/31/2009           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.75                   $0.00         $619,800.91
01/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.77                   $0.00         $619,895.68
02/26/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $85.60                   $0.00         $619,981.28
03/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.79                   $0.00         $620,076.07
04/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $91.74                   $0.00         $620,167.81
05/28/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.81                   $0.00         $620,262.62
06/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $91.76                   $0.00         $620,354.38
07/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.85                   $0.00         $620,449.23
08/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.1800%                       1270-000              $94.85                   $0.00         $620,544.08
09/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $25.49                   $0.00         $620,569.57
10/29/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $26.34                   $0.00         $620,595.91
11/30/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $25.49                   $0.00         $620,621.40
12/31/2010           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $26.34                   $0.00         $620,647.74
01/31/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $26.34                   $0.00         $620,674.08
02/28/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $23.79                   $0.00         $620,697.87
03/31/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $26.33                   $0.00         $620,724.20
04/29/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0500%                       1270-000              $25.50                   $0.00         $620,749.70
05/31/2011           (INT)   The Bank of New York Mellon                 Interest posting at 0.0100%                       1270-000              $26.33                   $0.00         $620,776.03




                                                                                                                          SUBTOTALS           $620,776.03                 $0.00
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Case No.                        08-72829-WLH                                                                       Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                         Bank Name:                            The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                         Checking Acct #:                      ******8019
Co-Debtor Taxpayer ID #:                                                                                           Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                         Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                         Separate bond (if applicable):


     1                2                         3                                               4                                         5                    6                  7

Transaction      Check /                    Paid to/                    Description of Transaction                  Uniform            Deposit            Disbursement         Balance
   Date           Ref. #                 Received From                                                             Tran Code             $                     $


06/08/2011                   Williams & Williams                                                                        *               $1,875.00                   $0.00         $622,651.03
                     {1}                                                                             $2,000.00      1221-000                                                     $622,651.03
                                                                                                      ($125.00)     3210-600                                                     $622,651.03
06/08/2011                   Williams & williams                                                                        *              ($1,875.00)                  $0.00         $620,776.03
                     {1}                                                                             ($2,000.00)    1221-000                                                     $620,776.03
                                                                                                       $125.00      3210-600                                                     $620,776.03
06/30/2011           (INT)   The Bank of New York Mellon        Interest posting at 0.0100%                         1270-000                  $4.90                 $0.00         $620,780.93
07/11/2011            (1)    Williams & Williams                Jenkindburg and Peachstate                          1221-000            $2,500.00                   $0.00         $623,280.93
07/29/2011           (INT)   The Bank of New York Mellon        Interest posting at 0.0100%                         1270-000                  $5.27                 $0.00         $623,286.20
08/08/2011                   Williams & Williams                                                                        *               $2,218.75                   $0.00         $625,504.95
                     {1}                                                                             $2,250.00      1221-000                                                     $625,504.95
                                                                                                       ($31.25)     3210-000                                                     $625,504.95
08/11/2011                   From Account #**********8020                                                           9999-000          $309,056.32                   $0.00         $934,561.27
08/31/2011           (INT)   The Bank of New York Mellon        Interest posting at 0.0100%                         1270-000                  $7.06                 $0.00         $934,568.33
08/31/2011                   The Bank of New York Mellon        Bank and Technology Services Fee                    2600-000                  $0.00            $1,878.04          $932,690.29
09/09/2011                   Williams & Williams                                                                        *                $875.00                    $0.00         $933,565.29
                     {1}                                                                             $1,000.00      1221-000                                                     $933,565.29
                                                                                                      ($125.00)     1221-000                                                     $933,565.29
09/30/2011           (INT)   The Bank of New York Mellon        Interest posting at 0.0100%                         1270-000                  $7.64                 $0.00         $933,572.93
09/30/2011                   The Bank of New York Mellon        Bank and Technology Services Fee                    2600-000                  $0.00            $1,917.57          $931,655.36
10/26/2011            (1)    Williams & Williams                                                                    1221-000              $87.50                    $0.00         $931,742.86
10/26/2011            (1)    Williams & Williams                                                                    1221-000            $2,875.00                   $0.00         $934,617.86
10/31/2011           (INT)   The Bank of New York Mellon        Interest posting at 0.0100%                         1270-000                  $7.90                 $0.00         $934,625.76
10/31/2011                   The Bank of New York Mellon        Bank and Technology Services Fee                    2600-000                  $0.00            $1,850.75          $932,775.01
11/07/2011        10101      Bank of North Georgia              per 10/12/11 order                                  4210-000                  $0.00           $55,000.00          $877,775.01
                                                                                                                   SUBTOTALS           $317,645.34             $60,646.36
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Case No.                         08-72829-WLH                                                                          Trustee Name:                         Tamara Miles Ogier
Case Name:                       BUCKHEAD OIL COMPANY, INC.                                                            Bank Name:                           The Bank of New York Mellon
Primary Taxpayer ID #:           XX-XXXXXXX                                                                            Checking Acct #:                     ******8019
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                       Checking Account
For Period Beginning:            06/30/2012                                                                            Blanket bond (per case limit):       $1,000,000.00
For Period Ending:               06/30/2013                                                                            Separate bond (if applicable):


     1                2                           3                                               4                                          5                    6                  7

Transaction      Check /                      Paid to/                    Description of Transaction                    Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                   Received From                                                               Tran Code            $                     $


11/07/2011        10102      John C. Williams & Assoc.                                                                      *                    $0.00            $8,992.50          $868,782.51
                                                                                                         ($8,935.50)    3210-600                                                    $868,782.51
                                                                                                           ($57.00)     3220-610                                                    $868,782.51
11/30/2011           (INT)   The Bank of New York Mellon          Interest posting at 0.0100%                           1270-000                 $7.37                   $0.00       $868,789.88
11/30/2011                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00            $1,982.70          $866,807.18
12/19/2011                   To Account #**********8066                                                                 9999-000                 $0.00          $576,980.50          $289,826.68
12/19/2011                   To Account #**********8066                                                                 9999-000                 $0.00                   $1.00       $289,825.68
12/30/2011           (INT)   The Bank of New York Mellon          Interest posting at 0.0100%                           1270-000                 $5.45                   $0.00       $289,831.13
12/30/2011                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00            $1,385.91          $288,445.22
01/03/2012                   To Account #**********8066                                                                 9999-000                 $0.00                 $237.55       $288,207.67
01/09/2012        10103      International Sureties, Ltd.         BOND PREMIUM PAYMENT ON LEDGER                        2300-000                 $0.00                 $309.09       $287,898.58
                                                                  BALANCE AS OF 01/01/2012 FOR CASE #08-72829
01/17/2012           (INT)   The Bank of New York Mellon          Interest posting at 0.0100%                           1270-000                 $1.26                   $0.00       $287,899.84
01/31/2012           (INT)   The Bank of New York Mellon          Interest posting at 0.0100%                           1270-000                 $1.17                   $0.00       $287,901.01
01/31/2012                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00                 $629.85       $287,271.16
02/22/2012            (8)    Pendo Financial Group LLC                                                                  1241-000          $17,000.00                     $0.00       $304,271.16
02/29/2012                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00                 $574.85       $303,696.31
03/13/2012                   Williams & Williams                                                                            *               $437.50                      $0.00       $304,133.81
                     {1}                                                                                   $500.00      1221-000                                                    $304,133.81
                                                                                                           ($62.50)     1221-000                                                    $304,133.81
03/30/2012                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00                 $622.77       $303,511.04
04/03/2012                   Williams & Williams                                                                            *               $437.50                      $0.00       $303,948.54
                     {1}                                                                                   $500.00      1221-000                                                    $303,948.54
                                                                                                           ($62.50)     1221-000                                                    $303,948.54
04/30/2012                   The Bank of New York Mellon          Bank and Technology Services Fee                      2600-000                 $0.00                 $601.90       $303,346.64

                                                                                                                       SUBTOTALS           $17,890.25            $592,318.62
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                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                                      Trustee Name:                           Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                        Bank Name:                             The Bank of New York Mellon
Primary Taxpayer ID #:        XX-XXXXXXX                                                                        Checking Acct #:                       ******8019
Co-Debtor Taxpayer ID #:                                                                                        Account Title:                         Checking Account
For Period Beginning:         06/30/2012                                                                        Blanket bond (per case limit):         $1,000,000.00
For Period Ending:            06/30/2013                                                                        Separate bond (if applicable):


     1                2                      3                                                 4                                      5                      6                  7

Transaction      Check /                   Paid to/                    Description of Transaction                Uniform           Deposit              Disbursement         Balance
   Date           Ref. #                Received From                                                           Tran Code            $                       $


05/25/2012                 Williams & Williams                                                                       *               $437.50                        $0.00       $303,784.14
                     {1}                                                                             $500.00     1221-000                                                      $303,784.14
                                                                                                     ($62.50)    1221-000                                                      $303,784.14
05/31/2012                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                 $0.00                   $683.91       $303,100.23
06/29/2012                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                 $0.00                   $600.40       $302,499.83
07/31/2012                 The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                 $0.00                   $661.20       $301,838.63
08/30/2012                 Williams & Williams                                                                       *               $437.50                        $0.00       $302,276.13
                     {1}                                                                             $500.00     1221-000                                                      $302,276.13
                                                                                                     ($62.50)    3210-600                                                      $302,276.13
01/30/2013                 Green Bank                          Transfer Funds                                    9999-000                 $0.00            $302,276.13                 $0.00




                                                                                                                SUBTOTALS                 $875.00           $304,221.64
                                          Case 08-72829-wlh         Doc 294        Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                    Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                      Bank Name:                            The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                      Checking Acct #:                      ******8019
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                   6                  7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit             Disbursement         Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                      $



                                                                                     TOTALS:                                                        $957,186.62             $957,186.62               $0.00
                                                                                         Less: Bank transfers/CDs                                   $928,561.49             $879,495.18
                                                                                     Subtotal                                                        $28,625.13              $77,691.44
                                                                                         Less: Payments to debtors                                        $0.00                   $0.00
                                                                                     Net                                                             $28,625.13              $77,691.44




                     For the period of 06/30/2012 to 06/30/2013                                                For the entire history of the account between 10/06/2009 to 6/30/2013

                     Total Compensable Receipts:                        $500.00                                Total Compensable Receipts:                                 $29,031.38
                     Total Non-Compensable Receipts:                      $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                      $500.00                                Total Comp/Non Comp Receipts:                               $29,031.38
                     Total Internal/Transfer Receipts:                    $0.00                                Total Internal/Transfer Receipts:                          $928,561.49


                     Total Compensable Disbursements:                    $723.70                               Total Compensable Disbursements:                            $78,097.69
                     Total Non-Compensable Disbursements:                  $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $723.70                               Total Comp/Non Comp Disbursements:                          $78,097.69
                     Total Internal/Transfer Disbursements:          $302,276.13                               Total Internal/Transfer Disbursements:                     $879,495.18
                                        Case 08-72829-wlh              Doc 294        Filed 07/22/13 Entered 07/22/13 16:14:47                                  Desc
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                                                           Trustee Name:                          Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                                             Bank Name:                            The Bank of New York Mellon
Primary Taxpayer ID #:        XX-XXXXXXX                                                                                             Checking Acct #:                      ******8066
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                        Checking Account
For Period Beginning:         06/30/2012                                                                                             Blanket bond (per case limit):        $1,000,000.00
For Period Ending:            06/30/2013                                                                                             Separate bond (if applicable):


     1               2                          3                                                       4                                                   5                    6                  7

Transaction      Check /                   Paid to/                             Description of Transaction                            Uniform            Deposit            Disbursement         Balance
   Date           Ref. #                Received From                                                                                Tran Code             $                     $


10/06/2009                 Wire in from JPMorgan Chase Bank, N.A.       Wire in from JPMorgan Chase Bank, N.A. account                9999-000             $437.95                      $0.00            $437.95
                           account ********8066                         ********8066
10/26/2009                 To Account #**********8065                                                                                 9999-000                  $0.00                 $437.95               $0.00
12/19/2011                 From Account #**********8019                                                                               9999-000          $576,980.50                     $0.00       $576,980.50
12/19/2011                 From Account #**********8019                                                                               9999-000                  $1.00                   $0.00       $576,981.50
12/19/2011        10162    Ellenberg Ogier Rothschild & Rosenfeld,                                                                        *                     $0.00           $10,469.67          $566,511.83
                           P.C.
                                                                                                                    ($10,200.00)      6110-000                                                     $566,511.83
                                                                                                                         ($269.67)    6120-000                                                     $566,511.83
12/19/2011        10163    Ellenberg Ogier Rothschild & Rosenfeld,                                                                        *                     $0.00          $119,190.94          $447,320.89
                           P.C.
                                                                                                                   ($110,575.50)      3120-000                                                     $447,320.89
                                                                                                                     ($8,615.44)      3120-000                                                     $447,320.89
12/19/2011        10164    Stonebridge Accounting Strategies                                                                              *                     $0.00            $2,821.62          $444,499.27
                                                                                                                     ($2,769.00)      3410-000                                                     $444,499.27
                                                                                                                          ($52.62)    3420-000                                                     $444,499.27
12/19/2011        10165    Tamara Miles Ogier                                                                                             *                     $0.00           $94,499.27          $350,000.00
                                                                                                                    ($81,369.84)      2100-000                                                     $350,000.00
                                                                                                                     ($4,237.67)      2200-000                                                     $350,000.00
                                                                                                                     ($6,391.76)      6101-000                                                     $350,000.00
                                                                                                                     ($2,500.00)      6102-000                                                     $350,000.00
12/19/2011        10166    Ports Petroleum Co. Inc.                                                                                   6910-000                  $0.00          $169,400.00          $180,600.00
12/19/2011        10167    Mansfield Oil Co.                                                                                          6910-000                  $0.00          $115,150.00           $65,450.00
12/19/2011        10168    Triton marketing                                                                                           6910-000                  $0.00           $65,450.00                  $0.00
12/30/2011                 The Bank of New York Mellon                  Bank and Technology Services Fee                              2600-000                  $0.00                 $237.55            ($237.55)

                                                                                                                                     SUBTOTALS           $577,419.45            $577,657.00
                                          Case 08-72829-wlh         Doc 294      Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                            The Bank of New York Mellon
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Checking Acct #:                      ******8066
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


     1               2                          3                                                 4                                                   5                   6                  7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit             Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                      $


01/03/2012                  From Account #**********8019                                                                       9999-000               $237.55                  $0.00                $0.00

                                                                                   TOTALS:                                                        $577,657.00             $577,657.00               $0.00
                                                                                       Less: Bank transfers/CDs                                   $577,657.00                 $437.95
                                                                                   Subtotal                                                             $0.00             $577,219.05
                                                                                       Less: Payments to debtors                                        $0.00                   $0.00
                                                                                   Net                                                                  $0.00             $577,219.05




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 10/06/2009 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                      $0.00
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                                    $0.00
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                          $577,657.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                           $577,219.05
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                         $577,219.05
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                         $437.95
                                          Case 08-72829-wlh     Doc 294            Filed 07/22/13 Entered 07/22/13 16:14:47                        Desc
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                            Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                              Bank Name:                            Green Bank
Primary Taxpayer ID #:          XX-XXXXXXX                                                                              Checking Acct #:                      ******2901
Co-Debtor Taxpayer ID #:                                                                                                Account Title:                        DDA
For Period Beginning:           06/30/2012                                                                              Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                              Separate bond (if applicable):


     1                2                          3                                                   4                                         5                    6                 7

Transaction      Check /                     Paid to/                        Description of Transaction                  Uniform            Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                                 Tran Code             $                     $


01/30/2013                  The Bank of New York Mellon          Transfer Funds                                          9999-000          $302,276.13                     $0.00      $302,276.13
01/31/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                  $31.46      $302,244.67
02/07/2013                  Williams & Williams                                                                              *               $1,575.00                     $0.00      $303,819.67
                     {1}                                         a/r                                       $2,000.00     1221-000                                                    $303,819.67
                                                                 atty fees                                 ($250.00)     3210-600                                                    $303,819.67
                                                                 bank account search fee                   ($175.00)     3220-610                                                    $303,819.67
02/28/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                 $440.53      $303,379.14
03/05/2013                  Williams & Williams                                                                              *                $962.50                      $0.00      $304,341.64
                     {1}                                                                                   $1,100.00     1221-000                                                    $304,341.64
                                                                                                           ($137.50)     3210-600                                                    $304,341.64
03/05/2013           5001   International Sureties, Ltd.         Bond Payment                                            2300-000                  $0.00                 $360.16      $303,981.48
03/29/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                 $489.66      $303,491.82
04/30/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                 $473.94      $303,017.88
05/14/2013                  Williams & Williams                                                                              *                 $87.50                      $0.00      $303,105.38
                     {1}                                                                                    $100.00      1221-000                                                    $303,105.38
                                                                                                            ($12.50)     3991-320                                                    $303,105.38
05/14/2013                  Williams & Williams                                                                              *               $8,750.00                     $0.00      $311,855.38
                     {1}                                                                                  $10,000.00     1221-000                                                    $311,855.38
                                                                                                          ($1,250.00)    3991-320                                                    $311,855.38
05/31/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                 $528.34      $311,327.04
06/04/2013                  Williams & Williams                                                                              *                $218.75                      $0.00      $311,545.79
                     {1}                                                                                    $250.00      1221-000                                                    $311,545.79
                                                                                                            ($31.25)     3991-320                                                    $311,545.79
06/28/2013                  Green Bank                           Bank Service Fee                                        2600-000                  $0.00                 $454.05      $311,091.74


                                                                                                                        SUBTOTALS           $313,869.88              $2,778.14
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Case No.                        08-72829-WLH                                                                                    Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                      Bank Name:                            Green Bank
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                      Checking Acct #:                      ******2901
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        DDA
For Period Beginning:           06/30/2012                                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                   6                  7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit             Disbursement          Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                      $



                                                                                     TOTALS:                                                        $313,869.88                  $2,778.14      $311,091.74
                                                                                         Less: Bank transfers/CDs                                   $302,276.13                      $0.00
                                                                                     Subtotal                                                        $11,593.75                  $2,778.14
                                                                                         Less: Payments to debtors                                        $0.00                      $0.00
                                                                                     Net                                                             $11,593.75                  $2,778.14




                     For the period of 06/30/2012 to 06/30/2013                                                For the entire history of the account between 01/30/2013 to 6/30/2013

                     Total Compensable Receipts:                      $13,450.00                               Total Compensable Receipts:                                 $13,450.00
                     Total Non-Compensable Receipts:                       $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                    $13,450.00                               Total Comp/Non Comp Receipts:                               $13,450.00
                     Total Internal/Transfer Receipts:               $302,276.13                               Total Internal/Transfer Receipts:                          $302,276.13


                     Total Compensable Disbursements:                  $4,634.39                               Total Compensable Disbursements:                             $4,634.39
                     Total Non-Compensable Disbursements:                  $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                $4,634.39                               Total Comp/Non Comp Disbursements:                           $4,634.39
                     Total Internal/Transfer Disbursements:                $0.00                               Total Internal/Transfer Disbursements:                           $0.00
                                         Case 08-72829-wlh     Doc 294         Filed 07/22/13 Entered 07/22/13 16:14:47                          Desc
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                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                                             Trustee Name:                         Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                               Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:        XX-XXXXXXX                                                                               Checking Acct #:                     ******8066
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                       Checking Account
For Period Beginning:         06/30/2012                                                                               Blanket bond (per case limit):       $1,000,000.00
For Period Ending:            06/30/2013                                                                               Separate bond (if applicable):


     1                2                          3                                               4                                           5                    6                 7

Transaction      Check /                    Paid to/                    Description of Transaction                      Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                 Received From                                                                 Tran Code            $                     $


07/24/2008                 From Account #********8065                                                                   9999-000          $10,000.00                     $0.00       $10,000.00
07/24/2008           101   Bobby Weatherly                      payroll ending 7/18/08                                  6950-720                 $0.00            $1,269.59             $8,730.41
07/24/2008           102   Luther McBurnett                     Payroll ending 7/18                                     6950-720                 $0.00                 $597.66          $8,132.75
07/24/2008           103   Timothy Mask                         payroll ending 7/18                                     6950-720                 $0.00                 $950.28          $7,182.47
07/24/2008           104   Bobby Weatherly                      payroll 7/11                                            6950-720                 $0.00                 $116.36          $7,066.11
07/24/2008           105   Luther McBurnett                     payroll ending 7/11                                     6950-720                 $0.00                 $239.39          $6,826.72
07/24/2008           106   Timothy Mask                         payroll ending 7/11                                     6950-720                 $0.00                 $272.06          $6,554.66
07/24/2008           107   Carl Pope                            payroll ending 7/18                                     6950-720                 $0.00            $1,100.00             $5,454.66
07/24/2008           107   Carl Pope                            payroll ending 7/18                                     6950-723                 $0.00           ($1,100.00)            $6,554.66
07/25/2008           108   Randy Evans                          payroll week ending 7/18 - no taxes withheld - 1099     6950-720                 $0.00                 $480.00          $6,074.66
07/25/2008           109   Justin Peppers                       payroll weeks of 7/11 and 7/18 - no taxes withheld -    6950-720                 $0.00            $1,356.00             $4,718.66
                                                                1099
07/25/2008           110   Jodi Smith                           $500 salary and $100 gas reimbursement week ending      6950-720                 $0.00                 $600.00          $4,118.66
                                                                7/18
07/25/2008           111   Tax Plus Accounting                  apply to services from July 22 forward                  6950-000                 $0.00            $1,800.00             $2,318.66
07/25/2008           111   Tax Plus Accounting                  apply to services from July 22 forward                  6950-004                 $0.00           ($1,800.00)            $4,118.66
07/25/2008           112   Carl Pope                            payroll ending 7/18                                     6950-720                 $0.00                 $773.28          $3,345.38
08/01/2008                 From Account #********8065                                                                   9999-000            $500.00                      $0.00          $3,845.38
08/01/2008                 From Account #********8065                                                                   9999-000           $2,000.00                     $0.00          $5,845.38
08/01/2008                 From Account #********8065                                                                   9999-000            $300.00                      $0.00          $6,145.38
08/01/2008                 From Account #********8065                                                                   9999-000           $2,000.00                     $0.00          $8,145.38
08/01/2008           113   Tax Plus Accounting                  apply to services from July 22 forward                  6950-000                 $0.00            $1,800.00             $6,345.38
08/01/2008           114   Bobby Weatherly                      pay period ending 7/19-7/25                             6950-720                 $0.00                 $590.11          $5,755.27
08/01/2008           115   Carl Pope                            pay period from 7/19-7/25                               6950-720                 $0.00                 $868.72          $4,886.55
08/01/2008           116   Luther S. McBurnett                  pay period from 7/19-7/25                               6950-720                 $0.00                 $427.88          $4,458.67
08/01/2008           117   Randy Evans                          pay period from 7/19-7/25                               6950-720                 $0.00                 $324.09          $4,134.58

                                                                                                                       SUBTOTALS           $14,800.00             $10,665.42
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       08-72829-WLH                                                                        Trustee Name:                         Tamara Miles Ogier
Case Name:                     BUCKHEAD OIL COMPANY, INC.                                                          Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         XX-XXXXXXX                                                                          Checking Acct #:                     ******8066
Co-Debtor Taxpayer ID #:                                                                                           Account Title:                       Checking Account
For Period Beginning:          06/30/2012                                                                          Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2013                                                                          Separate bond (if applicable):


     1                2                         3                                                  4                                     5                    6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                            Tran Code            $                     $


08/01/2008           118   Timothy Mask                          pay period from 7/19-7/25                          6950-720                 $0.00                 $393.22          $3,741.36
08/01/2008           119   Bobby Weatherly                       pay period from 7/5-7/11                           6950-720                 $0.00                  $58.18          $3,683.18
08/01/2008           120   Corey Custer                          pay period from 7/5-7/11                           6950-720                 $0.00                 $827.24          $2,855.94
08/01/2008           121   Luther McBurnett                      pay period from 7/5-7/11                           6950-720                 $0.00                 $124.94          $2,731.00
08/01/2008           122   Timothy Mask                          pay period from 7/5-7/11                           6950-720                 $0.00                 $218.81          $2,512.19
08/01/2008           123   Justin Peppers                        payroll July 19 - 25 - 1099 - no taxes withheld    6950-720                 $0.00                 $420.00          $2,092.19
08/01/2008           124   Nalley Motor Trucks                   vehicle repair                                     6950-000                 $0.00                 $968.35          $1,123.84
08/05/2008           125   Jodi Smith                            pay - week ending 7/25                             6950-720                 $0.00                 $600.00           $523.84
08/07/2008           (1)   Desanish Development Co.              a/r                                                1121-000            $891.00                      $0.00          $1,414.84
08/07/2008           (1)   southern sanitation, inc.             a/r                                                1121-000           $2,735.76                     $0.00          $4,150.60
08/07/2008           (1)   ADM Sanitation                        a/r                                                1121-000           $6,101.82                     $0.00       $10,252.42
08/07/2008           (1)   Perry Enterprises                     a/r                                                1121-000              $36.00                     $0.00       $10,288.42
08/07/2008           (1)   The Conlan Co.                        a/r                                                1121-000           $2,229.58                     $0.00       $12,518.00
08/07/2008           (1)   Dianne T. Bentl                       a/r                                                1121-000            $211.69                      $0.00       $12,729.69
08/07/2008           (1)   Bare Metals LLC                       a/r                                                1121-000           $7,018.67                     $0.00       $19,748.36
08/07/2008           (1)   North GA Concrete Inc.                a/r                                                1121-000           $1,555.81                     $0.00       $21,304.17
08/07/2008           (1)   Woodman Insulation Co. Inc.           a/r                                                1121-000          $19,167.98                     $0.00       $40,472.15
08/07/2008                 From Account #********8065                                                               9999-000          $30,000.00                     $0.00       $70,472.15
08/07/2008           126   Doug Starr Environmental              silt fencing                                       6950-000                 $0.00            $3,276.50          $67,195.65
08/08/2008           127   Carl Pope                             payroll week ending 8/1/08                         6950-720                 $0.00                 $773.28       $66,422.37
08/08/2008           127   Carl Pope                             payroll week ending 8/1/08                         6950-723                 $0.00             ($773.28)         $67,195.65
08/08/2008           128   Carl Pope                             payroll week ending 8/1/08                         6950-720                 $0.00                 $851.13       $66,344.52
08/12/2008           129   Jodi Smith                            pay - week ending 8/1                              6950-720                 $0.00                 $600.00       $65,744.52
08/15/2008           130   Carl Pope                                                                                6950-720                 $0.00                 $821.50       $64,923.02
08/17/2008           131   Matthew Long                          security - 40 hours                                6950-000                 $0.00            $1,200.00          $63,723.02


                                                                                                                   SUBTOTALS           $69,948.31             $10,359.87
                                          Case 08-72829-wlh     Doc 294           Filed 07/22/13 Entered 07/22/13 16:14:47               Desc
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                                    Trustee Name:                          Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                      Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:        XX-XXXXXXX                                                                      Checking Acct #:                      ******8066
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                        Checking Account
For Period Beginning:         06/30/2012                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:            06/30/2013                                                                      Separate bond (if applicable):


     1                2                        3                                                  4                                  5                    6                 7

Transaction      Check /                     Paid to/                     Description of Transaction            Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                        Tran Code            $                     $


08/17/2008           132   Todd DeMuth                           security - 14 hours                           6950-000                  $0.00                 $420.00       $63,303.02
08/17/2008           133   Derrick Wilson                        security - 18 hours                           6950-000                  $0.00                 $540.00       $62,763.02
08/17/2008           134   Walter Marlin                         security - 17 hours                           6950-000                  $0.00                 $510.00       $62,253.02
08/17/2008           135   Kenneth Wilson                        security - 25 hours                           6950-000                  $0.00                 $750.00       $61,503.02
08/17/2008           136   David Gulley                          security - 16 hours                           6950-000                  $0.00                 $480.00       $61,023.02
08/17/2008           137   Bobby Curnutt                         security - 30 hours                           6950-000                  $0.00                 $900.00       $60,123.02
08/17/2008           138   Travis Wick                           security - 16 hours                           6950-000                  $0.00                 $480.00       $59,643.02
08/17/2008           139   Harold Duke                           security - 16 hours                           6950-000                  $0.00                 $480.00       $59,163.02
08/17/2008           140   Jeff Hunnicutt                        security - 16 hours                           6950-000                  $0.00                 $480.00       $58,683.02
08/17/2008           141   Jonathan Duke                         security - 13 hours                           6950-000                  $0.00                 $390.00       $58,293.02
08/17/2008           142   Ken Swanson                           security - 16 hours                           6950-000                  $0.00                 $480.00       $57,813.02
08/17/2008           143   Jesse Patton                          security - 8 hours                            6950-000                  $0.00                 $240.00       $57,573.02
08/17/2008           144   Paul Christensen                      security - 16 hours                           6950-000                  $0.00                 $480.00       $57,093.02
08/17/2008           145   Hal Weiner                            security - 22 hours                           6950-000                  $0.00                 $660.00       $56,433.02
08/17/2008           146   Ranger Consulting                                                                   6710-350                  $0.00           $16,435.02          $39,998.00
08/21/2008           147   Jodi Smith                            week ending August 15                         6950-720                  $0.00                 $600.00       $39,398.00
08/22/2008           148   Carl Pope                                                                           6950-720                  $0.00                 $821.50       $38,576.50
08/28/2008           149   Carl Pope                             final two weeks payroll - 8/18-8/28           6950-720                  $0.00            $1,643.00          $36,933.50
08/28/2008           150   Jodi Smith                            final pay 8/18-8/28                           6950-720                  $0.00            $1,200.00          $35,733.50
09/16/2008           151   Internal Revenue Service              3rd quarter 941s                              6950-730                  $0.00            $6,862.00          $28,871.50
09/16/2008           151   Internal Revenue Service              3rd quarter 941s                              6950-733                  $0.00           ($6,862.00)         $35,733.50
09/16/2008           152   Georgia Dept of Revenue               3rd quarter G7                                6950-730                  $0.00            $1,014.28          $34,719.22
09/16/2008           153   Georgia Dept of Labor                 3rd quarter taxes                             6950-730                  $0.00                 $114.37       $34,604.85
09/16/2008           154   JP Morgan Chase                       3rd quarter 941s                              6950-730                  $0.00            $6,862.00          $27,742.85
10/08/2008                 From Account #********8065                                                          9999-000        $1,036,000.00                     $0.00    $1,063,742.85


                                                                                                              SUBTOTALS          $1,036,000.00            $35,980.17
                                        Case 08-72829-wlh                 Doc 294        Filed 07/22/13 Entered 07/22/13 16:14:47               Desc
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                                           Trustee Name:                          Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                             Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:        XX-XXXXXXX                                                                             Checking Acct #:                      ******8066
Co-Debtor Taxpayer ID #:                                                                                             Account Title:                        Checking Account
For Period Beginning:         06/30/2012                                                                             Blanket bond (per case limit):        $1,000,000.00
For Period Ending:            06/30/2013                                                                             Separate bond (if applicable):


     1                2                        3                                                           4                                5                    6                 7

Transaction      Check /                   Paid to/                                Description of Transaction          Uniform           Deposit            Disbursement         Balance
   Date           Ref. #                Received From                                                                 Tran Code            $                     $


10/08/2008           155   Allied Financial                                                                           4210-000                  $0.00          $763,304.90         $300,437.95
10/08/2008           156   Mansfield Oil Company of Gainesville, Inc.                                                 6910-000                  $0.00           $98,700.00         $201,737.95
10/08/2008           157   Triton Marketing, Inc.                                                                     6910-000                  $0.00           $56,100.00         $145,637.95
10/08/2008           158   Ports Petroleum Company, Inc.                                                              6910-000                  $0.00          $145,200.00             $437.95
09/04/2009                 From Account #********8065                                                                 9999-000           $31,207.70                   $0.00         $31,645.65
09/04/2009           159   Mansfield Oil Company of Gainesville, Inc.                                                 6910-000                  $0.00           $10,267.33          $21,378.32
09/04/2009           160   Triton Marketing, Inc.                                                                     6910-000                  $0.00            $5,835.84          $15,542.48
09/04/2009           161   Ports Petroleum Company, Inc.                                                              6910-000                  $0.00           $15,104.53             $437.95
10/06/2009                 Transfer in from account ********8019           Transfer in from account ********8019      9999-000          $619,505.17                   $0.00        $619,943.12
10/06/2009                 Transfer in from account ********8020           Transfer in from account ********8020      9999-000          $500,189.08                   $0.00      $1,120,132.20
10/06/2009                 Wire out to BNYM account ********8066           Wire out to BNYM account ********8066      9999-000            ($437.95)                   $0.00      $1,119,694.25
10/06/2009                 Wire out to BNYM account ********8020           Wire out to BNYM account ********8020      9999-000        ($500,189.08)                   $0.00        $619,505.17
10/06/2009                 Wire out to BNYM account ********8019           Wire out to BNYM account ********8019      9999-000        ($619,505.17)                   $0.00                $0.00




                                                                                                                     SUBTOTALS            $30,769.75          $1,094,512.60
                                          Case 08-72829-wlh         Doc 294      Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Checking Acct #:                      ******8066
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                   6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit             Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                      $



                                                                                   TOTALS:                                                       $1,151,518.06          $1,151,518.06               $0.00
                                                                                       Less: Bank transfers/CDs                                  $1,111,569.75                  $0.00
                                                                                   Subtotal                                                         $39,948.31          $1,151,518.06
                                                                                       Less: Payments to debtors                                         $0.00                  $0.00
                                                                                   Net                                                              $39,948.31          $1,151,518.06




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 07/24/2008 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                 $39,948.31
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                               $39,948.31
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                        $1,111,569.75


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                         $1,151,518.06
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                       $1,151,518.06
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                           $0.00
                                        Case 08-72829-wlh       Doc 294     Filed 07/22/13 Entered 07/22/13 16:14:47              Desc
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      08-72829-WLH                                                              Trustee Name:                        Tamara Miles Ogier
Case Name:                    BUCKHEAD OIL COMPANY, INC.                                                Bank Name:                          Bank of America
Primary Taxpayer ID #:        XX-XXXXXXX                                                                Checking Acct #:                    ******4999
Co-Debtor Taxpayer ID #:                                                                                Account Title:                      Checking Account
For Period Beginning:         06/30/2012                                                                Blanket bond (per case limit):      $1,000,000.00
For Period Ending:            06/30/2013                                                                Separate bond (if applicable):


     1               2                           3                                            4                               5                   6                 7

Transaction      Check /                   Paid to/                   Description of Transaction          Uniform          Deposit           Disbursement         Balance
   Date           Ref. #                Received From                                                    Tran Code           $                    $


07/15/2008           (1)   Bare Metals LLC                                                               1121-000           $3,471.48                  $0.00            $3,471.48
07/15/2008           (1)   Crystal Lake Golf & Country Club                                              1121-000           $2,040.27                  $0.00            $5,511.75
07/15/2008           (1)   DBA RKO Hauling & Grading                                                     1121-000          $19,100.98                  $0.00         $24,612.73
07/15/2008           (1)   Faith Technologies                                                            1121-000            $935.52                   $0.00         $25,548.25
07/15/2008           (1)   Morris Logging                                                                1121-000            $500.00                   $0.00         $26,048.25
07/15/2008           (1)   Morris Logging                                                                1121-000           $1,000.00                  $0.00         $27,048.25
07/15/2008           (1)   Patriot Commercial Sanitation                                                 1121-000           $2,494.88                  $0.00         $29,543.13
07/15/2008           (1)   Patriot Commercial Sanitation                                                 1121-000           $7,500.00                  $0.00         $37,043.13
07/15/2008           (1)   Perrone Enterprises                                                           1121-000           $2,494.88                  $0.00         $39,538.01
07/15/2008           (1)   Perrone Enterprises                                                           1121-000           $7,500.00                  $0.00         $47,038.01
07/15/2008           (1)   Butts County Board of Ed                                                      1121-000           $5,245.39                  $0.00         $52,283.40
07/15/2008           (1)   Crystal Lake Gold & Country Club                                              1121-000           $1,787.92                  $0.00         $54,071.32
07/15/2008           (1)   Marksmen Construction                                                         1121-000           $4,727.34                  $0.00         $58,798.66
07/15/2008           (1)   Martin Concrete Construction                                                  1121-000           $4,281.04                  $0.00         $63,079.70
07/15/2008           (1)   Patriot Commercial Sanitation                                                 1121-000           $3,749.74                  $0.00         $66,829.44
07/15/2008           (1)   Perrone Enterprises                                                           1121-000           $3,749.74                  $0.00         $70,579.18
07/15/2008           (1)   Robert Hood & Son                                                             1121-000           $3,650.10                  $0.00         $74,229.28
07/15/2008           (1)   Sequoia Golf LLC                                                              1121-000           $2,349.20                  $0.00         $76,578.48
07/15/2008           (1)   Whitlock Clearing & Grading                                                   1121-000           $2,500.00                  $0.00         $79,078.48
07/15/2008           (1)   Woodman Insulation Co                                                         1121-000          $19,908.21                  $0.00         $98,986.69
07/15/2008           (1)   Cherokee Brick & Tile                                                         1121-000          $30,494.42                  $0.00        $129,481.11
07/18/2008           (1)   Benchmark Logistics                                                           1121-000           $6,958.86                  $0.00        $136,439.97
07/18/2008           (1)   Casteel Trucking                                                              1121-000           $6,861.84                  $0.00        $143,301.81
07/18/2008           (1)   Erosion Control Services                                                      1121-000           $7,938.25                  $0.00        $151,240.06
07/18/2008           (1)   Guthrie Construction Co                                                       1121-000          $25,670.27                  $0.00        $176,910.33


                                                                                                        SUBTOTALS          $176,910.33                 $0.00
                                           Case 08-72829-wlh     Doc 294       Filed 07/22/13 Entered 07/22/13 16:14:47              Desc
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                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       08-72829-WLH                                                                Trustee Name:                         Tamara Miles Ogier
Case Name:                     BUCKHEAD OIL COMPANY, INC.                                                  Bank Name:                           Bank of America
Primary Taxpayer ID #:         XX-XXXXXXX                                                                  Checking Acct #:                     ******4999
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                       Checking Account
For Period Beginning:          06/30/2012                                                                  Blanket bond (per case limit):       $1,000,000.00
For Period Ending:             06/30/2013                                                                  Separate bond (if applicable):


     1                2                           3                                              4                               5                    6                 7

Transaction      Check /                      Paid to/                   Description of Transaction          Uniform          Deposit            Disbursement         Balance
   Date           Ref. #                   Received From                                                    Tran Code           $                     $


07/18/2008           1001   Billy Kirby                                                                     6950-720                 $0.00                 $410.83      $176,499.50
07/18/2008           1002   Bobby Weatherly                                                                 6950-720                 $0.00                 $982.83      $175,516.67
07/18/2008           1003   Clifton Stanton                                                                 6950-720                 $0.00                 $429.43      $175,087.24
07/18/2008           1004   Connie Mullis                                                                   6950-720                 $0.00                 $546.94      $174,540.30
07/18/2008           1005   Corey Custer                                                                    6950-720                 $0.00                 $215.76      $174,324.54
07/18/2008           1006   Jessica Langeloh                                                                6950-720                 $0.00                  $81.28      $174,243.26
07/18/2008           1007   Luther McBurnett                                                                6950-720                 $0.00                 $597.65      $173,645.61
07/18/2008           1008   Randy Evans                                                                     6950-720                 $0.00                 $820.85      $172,824.76
07/18/2008           1009   Timothy Mask                                                                    6950-720                 $0.00                 $680.87      $172,143.89
07/18/2008           1010   Dennis Messman                                                                  6950-720                 $0.00                 $750.00      $171,393.89
07/18/2008           1011   Carl Pope                                                                       6950-720                 $0.00            $1,100.00         $170,293.89
07/18/2008           1012   Jodi Smith                                                                      6950-720                 $0.00            $1,140.00         $169,153.89
07/23/2008                  check order fee                                                                 6950-000                 $0.00                  $88.00      $169,065.89
08/11/2008           (1)    Perrone Enterprises                   Bounced Check                             1121-000          ($7,500.00)                    $0.00      $161,565.89
08/11/2008           (1)    Patriot Commercial Sanitation         Bounced Check                             1121-000          ($3,749.74)                    $0.00      $157,816.15
08/11/2008           (1)    Perrone Enterprises                   Bounced Check                             1121-000          ($3,749.74)                    $0.00      $154,066.41
08/11/2008           (1)    Perrone Enterprises                   Bounced Check                             1121-000          ($2,494.88)                    $0.00      $151,571.53
08/11/2008           (1)    Patriot Commercial Sanitation         Bounced Check                             1121-000          ($2,494.88)                    $0.00      $149,076.65
08/11/2008                  bounced check fees                                                              6950-000                 $0.00                  $25.00      $149,051.65
08/13/2008                  Insurance certified check                                                       6950-000                 $0.00            $5,937.13         $143,114.52
09/12/2008           6143   Estate of Buckhead Oil                                                          9999-000                 $0.00          $143,114.52                 $0.00




                                                                                                           SUBTOTALS          ($19,989.24)           $156,921.09
                                          Case 08-72829-wlh         Doc 294      Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                          Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                            Bank of America
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Checking Acct #:                      ******4999
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                   6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit             Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                      $



                                                                                   TOTALS:                                                        $156,921.09             $156,921.09               $0.00
                                                                                       Less: Bank transfers/CDs                                         $0.00             $143,114.52
                                                                                   Subtotal                                                       $156,921.09              $13,806.57
                                                                                       Less: Payments to debtors                                        $0.00                   $0.00
                                                                                   Net                                                            $156,921.09              $13,806.57




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 08/01/2008 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                $156,921.09
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                              $156,921.09
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                            $13,806.57
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                          $13,806.57
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                     $143,114.52
                                          Case 08-72829-wlh         Doc 294      Filed 07/22/13 Entered 07/22/13 16:14:47                                 Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                  Trustee Name:                            Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                    Bank Name:                              Rabobank, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                    Checking Acct #:                        ******1219
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                          Checking Account
For Period Beginning:           06/30/2012                                                                                    Blanket bond (per case limit):          $1,000,000.00
For Period Ending:              06/30/2013                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                     6                 7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit               Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                        $



                                                                                   TOTALS:                                                                 $0.00                  $0.00               $0.00
                                                                                       Less: Bank transfers/CDs                                            $0.00                  $0.00
                                                                                   Subtotal                                                                $0.00                  $0.00
                                                                                       Less: Payments to debtors                                           $0.00                  $0.00
                                                                                   Net                                                                     $0.00                  $0.00




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 01/23/2013 to 6/30/2013

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                         $0.00
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                                       $0.00
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                              $0.00
                                          Case 08-72829-wlh         Doc 294        Filed 07/22/13 Entered 07/22/13 16:14:47                            Desc
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        08-72829-WLH                                                                                 Trustee Name:                         Tamara Miles Ogier
Case Name:                      BUCKHEAD OIL COMPANY, INC.                                                                   Bank Name:                            Rabobank, N.A.
Primary Taxpayer ID #:          XX-XXXXXXX                                                                                   Checking Acct #:                      ******1219
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        Checking Account
For Period Beginning:           06/30/2012                                                                                   Blanket bond (per case limit):        $1,000,000.00
For Period Ending:              06/30/2013                                                                                   Separate bond (if applicable):


    1                2                           3                                                   4                                             5                     6                7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform          Deposit            Disbursement         Balance
   Date           Ref. #                  Received From                                                                       Tran Code           $                     $


                                                                                                                                                                             NET           ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE          BALANCES

                                                                                                                                              $2,704,481.24         $2,393,389.50         $311,091.74




                     For the period of 06/30/2012 to 06/30/2013                                              For the entire history of the account between 01/23/2013 to 6/30/2013

                     Total Compensable Receipts:                      $13,950.00                          Total Compensable Receipts:                               $2,707,459.55
                     Total Non-Compensable Receipts:                       $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                    $13,950.00                          Total Comp/Non Comp Receipts:                             $2,707,459.55
                     Total Internal/Transfer Receipts:               $302,276.13                          Total Internal/Transfer Receipts:                         $3,666,327.12


                     Total Compensable Disbursements:                  $5,358.09                          Total Compensable Disbursements:                          $2,396,367.81
                     Total Non-Compensable Disbursements:                  $0.00                          Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                $5,358.09                          Total Comp/Non Comp Disbursements:                        $2,396,367.81
                     Total Internal/Transfer Disbursements:          $302,276.13                          Total Internal/Transfer Disbursements:                    $3,666,327.12
